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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

_ _ _ m _ _ _ _ _ _ m _ _ _ _ _ m _ _ _ _X
ANDREA T. PAYNE,
CV-Ol~1532
(Korman, C.J.)
Plaintiff, (Levy, M.J.)
~ against -
EMPLOYING OFFICE OF
REPRESENTATIVE GREGORY W. MEEKS,
Defendant.
_ w _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _X

STATEMENT PURSUANT TO LOCAL CIVIL RULE 56.1

Pursuant to Rule 56.l of the Local Civil Rules of the United
States District Court for the Southern and Eastern Districts of New
York, Defendant Employing Office of Representative Gregory'W. Meeks
(“Defendant” or “Office”), by its attorney, Roslynn R. Mauskopf,
United States Attorney for the Eastern District of New York, Sandra
L. Levy, Assistant United States Attorney, of counsel, submits the
following statement of material facts as to which Defendant
contends there exists no genuine issue to be tried in connection
With Defendant’s motion for summary judgment pursuant to Fed. R.

Civ. P. 56(€):

I. Plaintiff's Employment at the Office of Representative Meeks
A. Background
l. Effective March 23, 1998, Plaintiff started Work as a
Community Liaison in the Office of Representative Gregory W. Meeks

(“Rep. Meeks”) at an annual salary of $28,000. Declaration of

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Jameel Aalim-Johnson, dated December l, 2004 (“A-Johnson Dec.”) I
4, and Exhibit (“Ex.”) A thereto; Declaration of Sandra L. Levy,
dated December 2, 2004 (“Levy Dec.”), Ex. 3 (Deposition of
Plaintiff, taken on November 7, 2002 (“Pl. Dep. I”)), at 28:19-22.

2. Plaintiff was assigned to the District Office, located at
196-06 Linden Boulevard, St. Albans, New York. AFJohnson Dec. I 5.

3. Effective January l, 1999, Plaintiff's annual salary was
increased to $35,000. A-Johnson Dec. I 6, and Ex. B thereto.

4. Effective January l, 2000, Plaintiff’s annual salary was
increased to $36,395. A-Johnson Dec. I 7, and Ex. C thereto.

5. Employees of the Office are paid monthly. A-Johnson Dec.
l lO.

6. Plaintiff's monthly base pay was calculated on the basis
of one twelfth of her annual salary, not on an hourly basis. ;Qy

7. During the years of her employment Ms. Payne's monthly
salary was as follows: $2,333.33 in l998, $2,916.67 in 1999 and
$3,024.58 in 2000. A-Johnson Dec. I ll and Ex. F thereto.

8. During certain months between March 1998 and August 2000,
Plaintiff was paid Overtime compensation. A-Johnson Dec. l 12, and
Ex. G thereto.

9. On a single occasion in December 1998, Plaintiff received
a bonus in the amount of $3,220. A-Johnson Dec. l 13, and Ex. H
thereto.

10. Plaintiff requested permission to leave the Office early

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on certain occasions, egg;, due to medical or legal issues to which
she had to attend. A-Johnson Dec. I 15 and Ex. I thereto.

ll. Nevertheless, Plaintiff’s salary was not subject to

reduction for partial-day absences, i;eg, there was no actual
practice of making pay deductions for partial-day absences, no
employment policy indicating that pay deductions would be made for
partial-day absences, and Plaintiff’s salary was never so reduced.
A-Johnson Dec. II l4-l6.

12. Plaintiff's salary was not subject to reduction based on
variations in the quality or quantity of her work, i;eg, there was
no actual practice of making pay deductions for variations in the
quantity or quality of her work, no employment policy indicating
that pay deductions would be made based on variations in the
quality or quantity of her work, and Plaintiff's salary was never
so reduced. A-Johnson Dec. LL 17-18.

B. Plaintiff’s Duties and Responsibilities

l3. During her employment, Plaintiff served as one of five to

seven Community Liaisons in the District Offices of Representative

Meeks. Levy Dec., Ex. 4 (Deposition of Rep. Meeks, taken on
November l9, 2002 (“Rep. Meeks Dep.”)), at 25:24-26:14; Declaration
of Gregory W. Meeks, dated December 2, 2004 (“Rep. Meeks Dec.”) I
4.

14. The District 0ffices are located in St. Albans, Richmond

Hill, and Far Rockaway, New York. Rep. Meeks Dec. I 3.

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15. The District Offices are the direct connection between
the Congressman and the community that he represents. ;d;

16. The primary function of the District Offices is to serve
as a clearinghouse where the approximately 655,000 constituents of
the 6th Congressional District of New York may come to request
assistance, and.where the staff of the District Offices may respond
to such requests, intervene on behalf of, and service the needs of,

the district’s constituents. Id.; see id. I 4.

 

l7. The District Offices also serve an important
representational function, establishing the Congressman's presence
in the community. ldg; see id¢ T 4.

18. In her position as Community Liaison, Plaintiff handled
constituent matters dealing with legal and law enforcement-related
issues, grants, the Post Office, and occasionally Internal Revenue
Service matters. Levy Dec., Ex. 3 (Pl. Dep. l), at 29:1-20;
Declaration of Patrick Jenkins, dated November 30, 2004 (“Jenkins
Dec.”) ‘J[ 7.

19. Examples of requests for assistance that could be
assigned to Ms. Payne in her subject area were citizens' claims of
harassment by the police, or prisoners’ claims of civil rights
violations. Jenkins Dec. I 7.

20. Plaintiff's work included. face-to~face contact with
constituents as well as contact by telephone and letter. ldg, at

34:13-35:8.

2l. Plaintiff was also required to attend neetings with
community groups and associations as the Congressman's
representative and speak on the Congressman's behalf. Rep. Meeks
Dec. IL 5-6; Levy Dec., Ex. 3 (Pl. Dep. I), at 43:7-21.

22. Plaintiff's performance of this duty was essential to
Rep. Meeks' ability to fulfil his representational function. Rep.
Meeks Dec. L 5.

23. For example, Plaintiff attended:

(a) community council meetings for each of the five to six
police precincts in the district on a nbnthly basis, Levy
Dec., EX. 3 (Pl. Dep. I), at 43:22-44:4, 44:ll~13, 147:21425;
Rep. Meeks Dec. I 6;

(b) other meetings and events in the community that are
intended to foster good relations between the police and
members of the community, including meetings with the Patrol
Bureau Queens South (which is comprised of the eight police
precincts in South Queens), and picnics, luncheons, and other
gatherings, Rep. Meeks Dec. L 6; Levy Dec., EX. 9 (documents
produced by Plaintiff), at PlOOlOl-24 (mileage log reflecting
attendance at “PBQS” and community events); see id., EX.

(Pl. Dep. I), at 33:11-15 (Plaintiff testified that “[she]

kept the mileage log in the car”);

 

(c) other community meetings and events, including monthly
meetings of the Cambria Heights Civic Association and
Community Board 10, Levy Dec., Ex. 3 (Pl. Dep. I), at 44:4»18,
as well as meetings of other civic associations in the
district, Rep. Meeks Dec. I 6; idg, Ex. 9 (documents produced
by Plaintiff), at PlOOlOl-24 (mileage log reflecting
attendance at civic association meetings);

(d) meetings and fora about police brutality issues, domestic
violence and elder crime, Rep. Meeks Dec. L 6; Levy Dec., Ex.
9, at PlOOlOl-l24 (mileage log reflecting attendance at
meetings and fora); and

(e) law and government programs at local high schools at
which Plaintiff spoke in the Congressman’s stead, Rep. Meeks
Dec. L 6 and Ex. B thereto (memos describing attendance at

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school programs); Levy Dec., Ex. 9, at P10010l~124 (mileage
log reflecting attendance at schools).

24. The “community councils" function as liaisons between the
police and the community. Rep. Meeks Dec. at pg. 3, n. l; §§§ L€Vy
Dec., Ex. 3 (Pl. Dep. l), at 44:ll-l3.

26. Among other things, Community Boards intercede on behalf
of their constituents to ensure delivery of services and meet with
agencies and elected officials to promote service delivery. Rep_
Meeks Dec. at pg. 3, n. l.

26. At all of the meetings with community groups and
associations that Plaintiff attended as the Congressman's
representative, Plaintiff interacted\vith.constituents. listened to
their concerns, and discussed the Congressman's policy positions in
relation to those concerns. Rep. Meeks Dec. I 7; Jenkins Dec. LI
13-l4.

27. Plaintiff was briefed on what was in@ortant to the
Congressman about particular issues that might arise at a meeting
and given guidelines about what she could state on the
Congressman's behalf at the meeting. Jenkins Dec. I l3.

28. Plaintiff was required to exercise discretion in how she
shared the Congressman's concerns at a meeting and Plaintiff was
directed not to state her personal opinion on an issue when acting
as the Congressman's representative. _I_d4

29. Plaintiff was required to prepare, and submit to the

District Office Chief of Staff, a report describing each meeting

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that she attendedi any iss

recommendations about pol

Dec. L 8; see Levy Dec.l
144:1-10; Jenkins Dec. q 15.
d the meeting

89:20,
f Staff use

30. The District Office Chief o
ues of concern to particu

reports to brief the Congressman on iss

groups in the community.
ing reports helped Rep. Meeks determine, e.g.,
/or whethe

3l. The meet
r to do any

whether to advocate for legislation, and
education or outreach in the community about a particular issue.

Id.
32. Plaintiff's work in the local community was extremely

important to the Office. Rep. weeks Dec. L 9.
was employed by the Office,

at the time she
rutality in

33. For example,

there were several alleged incidents of police b the 6th
Congressional District of New York that were receiving national
and advocacy' groups. ;dg_ On one
als fron\ the local police

to meet

occasion,

precincts, including Captains, Commanders, and Sergeants,

with the Congressman regarding incidents of alleged police

brutality. ld_.d Plaintiff planned, participated in, and played an
gressman and the

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community. ld.
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f also worked_in conjunctio CaCY QrOuPS

34. Plaintif

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in planning and organizing hearings on police brutality. Rep.
Meeks Dec. I lO; Levy Dec., Ex. 10 (resume of Plaintiff); Levy
Dec., Ex. 11 (Deposition of Plaintiff, taken on November 6, 2003
(“Pl. Dep. II”), at 188:8-189:23 (at her deposition, Plaintiff
authenticated the resume identified found at Levy Dec., Ex. 10, and
testified that she prepared the resume in or around October 2000,
after her termination).

35. On one occasion in particular, Plaintiff participated in
the logistical planning and organization of Congressional Black

Caucus public hearings on police brutality at the World Trade

Center. Rep. Meeks Dec. I 10; Levy Dec., Ex. 10 (resume of
Plaintiff).
36. Plaintiff also mediated community tensions around

concerns about incidents of alleged policy brutality. Rep. Meeks
Dec. L ll.

37. ln_one instance, Plaintiff managed conflict between angry
constituents and police officers from a local precinct who were at
odds with each other during a community meeting over an alleged
incident of police brutality. lg; The meeting was held to
discuss an incident where a law enforcement officer had shot and
killed a constituent because the officer mistakenly believed that
the constituent was carrying a gun, when the object the constituent
was carrying was a candy bar. ;d; Plaintiff was particularly

effective at managing tensions and.conflict during that meeting and

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represented the Office well. Id.

38. On one occasion, Plaintiff represented the Congressman at
a funeral for a constituent who had been murdered. Levy Dec., Ex.
3 (Pl. Dep. I), at 147:4-20. According to Plaintiff, “it was very
high profile and had been publicized in the news, and l was asked
to read condolence remarks at the funeral on behalf of the
Congressman.” ldg

39. Plaintiff was also required to respond to requests for
assistance fron\ constituents concerning her' designated subject
areas. Rep. Meeks Dec. q 13; Levy Dec., Ex. 3 (Pl. Dep. I), at
29:2-20, 34:13~35:8; Levy Dec., Ex. 10 (resume of Plaintiff); see
generally Rep. Meeks Dec. L 4.

40. In her capacity of responding to requests for assistance
from constituents, if Plaintiff knew how to respond to an inquiry
without researching an issue further, she would recommend a course
of action directly to the constituent, free from immediate
supervision and direction. Rep. Meeks Dec. I 13; see Jenkins Dec.
i 9.

41. If Plaintiff did not know how to respond to a request for
assistance from a constituent without further followrup, she would
determine how to investigate the issue, which included evaluating
different possible methods of addressing a constituent’s problem.
Rep. Meeks Dec. T 13; see Jenkins Dec. L 9.

42. When the Office could intervene on behalf of a

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constituent to help solve a problem or dispute with a government
agency, Plaintiff acted as liaison for the constituent before
federal, state, and local government agencies. l_d4

43. Plaintiff would then respond accordingly to the
constituent’s request for assistance. ld;

44. When organizations sought funding, Plaintiff directed
thenito appropriate federal funding sources and prepared letters of
support for the funding. Levy Dec., Ex. 10 (resume of Plaintiff);
Jenkins Dec. L ll.

45. Plaintiff also assessed the issues and problems that were
raised at community meetings that she attended and the constituent
case work that she handled and reported any trends in such issues
to the District Office Chief of Staff. Rep. Meeks Dec. l 14;
Jenkins Dec. 9 16.

46. Although Plaintiff did not formulate policy, on the basis
of her analyses of the issues and problems that were raised at
community meetings and in Plaintiff's case work, Plaintiff made
recommendations to the District Office Chief of Staff regarding the
need for legislative policy and/or community initiatives. Rep.
Meeks Dec. I 14; see Jenkins Dec. I 14.

47. On one occasion, Plaintiff recognized a trend.of identity
theft cases in her case work, and proposed that the Office take
action on behalf of the community. Jenkins Dec. l 16.

48. Rep. Meeks acted on Plaintiff's proposal that the Office

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take action on behalf of the community concerning identity theft
and the Office publicized.the issue, including television coverage.
ldg; see alsg Levy Dec., Ex. 3 (Pl. Dep. I), at 122:18~123:7
(Plaintiff described working on television coverage of identity
theft issue).

49. Plaintiff also composed.and.prepared proclamations. Rep.
Meeks Dec. L 15; Levy Dec., Ex. 3 (Pl. Dep. I), at 38:11~12; Levy
Dec., Ex. 10 (resume of Plaintiff).

50. A “proclamation” is a recognition of the accomplishments
of a particular individual or entity, and is issued on behalf of
Rep. Meeks as a member of the United States House of
Representatives. Rep. Meeks Dec. at pg. 6, n.2.

51. In order to compose and prepare proclamations, Plaintiff
researched the individual or entity to whom the proclamation was
being given and drafted the text of the proclamation. Rep. Meeks
Dec. I 15.

52. Plaintiff then had the proclamation produced and framed

and presented it to the individual or entity in question on the

Congressman's behalf. Id.; Levy Dec., Ex. 3 (Pl. Dep. I), at
38:12-14.
53. Plaintiff also acted as systems administrator for the

District Office. Levy Dec., Ex. 3 (Pl. Dep. I), at 35:9-19; Levy
Dec., Ex. 10 (resume of Plaintiff); Rep. Meeks Dec. L 16.

54. As systems administrator, Plaintiff troubleshot technical

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problems; maintained the computer systems for the three District
Offices; and printed a monthly caseworker intake report for the
District Office Chief of Staff. Levy Dec., Ex. 3 (Pl. Dep. 1), at
35:20-36:4; Levy Dec., Ex. 10 (resume of Plaintiff).

55. Plaintiff's responsibility as system administrator was
secondary to the performance of Plaintiff's duties as Community
Liaison. Rep. Meeks Dec. L 16.

56. According to Plaintiff, her systems administration work
accounted for approximately 40 percent of her time. Levy Dec., Ex.
3 (Pl. Dep. 1), at 35:15-19.

57. Plaintiff's direct supervisor was District Office Chief
of Staff Josephine Johnson. Jenkins Dec. L 4.

58. Ms. Johnson passed away in July 2002. ;L_c_l4

59. Ms. Johnson.was available for consultation with Plaintiff
and the other Community Liaisons in their work, egg;, in
determining how to respond to constituent inquiries. Rep. Meeks
Dec. L 17; see Levy Dec., Ex. 3 (Pl. Dep. 1), at 115:9-19
(Plaintiff testified about consulting with Ms. Johnson in
responding to inquiries).

60. Often, it was left to Plaintiff's judgment to determine
when to consult Ms. Johnson on an issue, Rep. Meeks Dec. I 17;
see Jenkins Dec. I 10.

61. Ms. Johnson reviewed all letters drafted by Community

Liaisons, including Plaintiff, before they were sent. Rep. Meeks

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Dec. I 18; Jenkins Dec. 3 12; Levy Dec., Ex. 3 (Pl. Dep. I), at
114:21-115:5.

62. Ms. Johnson reviewed the letters drafted by Community
Liaisons for quality control, to ensure that the letters were
grammatically correct and professional in appearance. Rep. Meeks
Dec. L 18; Jenkins Dec. L 12.

63. Ms. Johnson also reviewed letters drafted by Community
Liaisons to ensure that the approach taken in dealing with a
constituent’s request for assistance was correct. Rep. Meeks Dec.
L 18; Jenkins Dec. L 12.

64. Plaintiff’s letters were often accepted.without revision
beyond non-substantive edits. Rep. Meeks Dec. L 18.

65. In the year 2000, Plaintiff worked from 9 to between 5:15
and 5:30 every weekday except Thursday, when she worked.until 8:00.
Levy Dec., Ex. 3 (Pl. Dep. I), at 36:5»20.

66. Plaintiff took one hour for lunch each day. Levy Dec.,
Ex. 3 (Pl. Dep. I), at 37:2-5.

C. Office Overtime Policy

67. Shortly after Rep. Meeks' election in February 1998, the
Office established a policy of paying employees overtime
compensation for representing the Office at meetings outside of
office hours. Levy Dec., Ex. 4 (Rep. Meeks Dep.), at 17:2-18:5,
19:13-20:1; A-Johnson Dec. § 19.

68. In order to obtain overtime compensation, an employee was

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required to submit a summary of the meeting, including the hours of
attendance, to the Chief of Staff for the District Office. Levy
Dec., Ex. 3 (Pl. Dep. I), at 87:9-15, 88:18-89:20, 144 1-10.

69. In order to obtain overtime compensation, an employee was
also required to submit a monthly request for overtime compensation
to the Chief of Staff for the District Office, which included an
itemization of the hours worked during the month. _I__d4 (Pl. Dep.
I), at 90:11-15.

70. The District Office Chief of Staff then transmitted
requests for overtime compensation by District Office staff to
Patricia Fisher, the Office Manager/Scheduler for the Office who,
among other things, processed the payroll for the employees of the
Office. Levy Dec., Ex. 8 (Fisher Dep.), at ll:24-l3:5.

71. Ms. Fisher then typed the information onto an Overtime
Pay Sheet, which was required to be submitted to the U.S. House of
Representatives Office of Finance, Payroll Department (“finance
office”), no later than the tenth of the month following the month

in which the overtime was incurred. Declaration of Patricia Fisher,

dated December 1, 2004 (“Fisher Dec.”) § 4, and Ex. A thereto; see
generally Levy Dec., Ex. 8 (Fisher Dep.), at 11:16~16:2

(description of overtime procedure).
72. Community Liaisons, including Plaintiff, were not
required to complete a time sheet or otherwise account for their

hours. Levy Dec., Ex. 3 (Pl. Dep. I), at 141:13-18.

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73. The only time Community Liaisons accounted for their
hours was when they submitted a request for overtime compensation
to the District Office Chief of Staff, which included the hours

they claimed to have worked overtime. Id.~

__._I

id. (Pl. Dep. I), at

 

90:11-15.

D. Plaintiff’s attendance at February 2000 Meeting

74. On February 3, 2000, Plaintiff acted.as the Congressman's
representative at a meeting at the Humanities and the Arts Magnet
High School, in Cambria Heights, Queens. Levy Dec., Ex. 3 (Pl.
Dep. l), at 87:3-11; id;, Ex. 1 (Original Complaint)(“Orig.
Complt.”), Ex. B; repeated ap Rep. Meeks Dec.i Ex. B (P100007).

75. Plaintiff attended the meeting at Humanities and the Arts
Magnet High School on February 3, 2000, from 5:00 to 7:30 p.m.
Levy Dec., Ex. 3 (Pl. Dep. I), at 92:8-19; Levy Dec., Ex. l (Orig.
Complt.), Ex. D.

76. On February 4, 2000, Plaintiff drafted a memorandum
summarizing the meeting, which she submitted to her supervisor,
Josephine Johnson. Levy Dec., Ex. 3, at 87:9-89:20; Levy Dec., Ex.
1 (Orig. Complt.), Ex. B.

77. Plaintiff did not submit a request for overtime
compensation to the Chief of Staff of the District Office by the
tenth of the following month (iyeé, March 10, 2000) for the two and
one half hours at which she attended the meeting at Humanities and

the Arts Magnet High School on February 3, 2000. Fisher Dec. I 5;

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Levy Dec., Ex. 2 (Amended Complaint (“Am. Complt.”)), Ex. A at 1
(Plaintiff indicated that she did not submit a request for overtime
compensation by March 10, 2000).

78. Plaintiff does not recall how many hours she worked
during the week commencing January 30, 2000 and has no records to
that effect. Levy Dec., Ex. 3 (Pl. Dep. l), at 139:23-140:16.

79. Plaintiff did. not work on Sunday, January 30, or
Saturday, February 5, 2000. ;Qy (Pl. Dep. I), at 177:6-178:9;
Fisher Dec. I 6 (Plaintiff did not request overtime compensation
for January 30 or February 5, 2000).

80. Plaintiff testified that she was “not sure” how many
hours she worked on Friday, February 4, but it could have been
until 6:00. Levy Dec., Ex. 3 (Pl. Dep. l), at 140:12~141:4.

E. Plaintiff's Paid Medical Leave - February to July 2000

81. On February 14, 2000, Plaintiff was injured. in an
automobile accident unrelated to her employment. Levy Dec., Ex. 3
(Pl. Dep. I), at 52:23-53:10; Rep. Meeks Dec. I 19; Fisher Dec. J
7.

82. Plaintiff was absent from work as a consequence of her
automobile accident from February 14 to July 10, 2000. Levy Dec.,
Ex. 2 (Am. Complt.) IT 16, 17; Fisher Dec. I 7, and Ex. B thereto.

83. As of February 14, 2000, Plaintiff had available
approximately two and one half days of vacation leave and two days

of sick leave. A~Johnson Dec. L 23.

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84. During the first four and one half days of her absence
from.the office, Plaintiff was paid through use of her accrued sick
leave and annual leave. id4

85. At Rep. Meeks' direction, from the time that Plaintiff's
accrued leave ran out on February 18, 2000, until Plaintiff's
return to the Office four and one half months later on July 10,
2000, the Office paid Plaintiff her full salary, without
interruption. Levy Dec., Ex. 4 (Rep. Meeks Dep.), at 70:13~71:13;
Rep. Meeks Dec. I 20; A-Johnson Dec. I 23.

86. During Plaintiff's absence from the Office from February
14 to July 10, 2000, Plaintiff was paid a total of approximately
$16,600 in salary - of which all but four and one half days of
accrued leave were paid at Rep. Meeks' discretion. A-Johnson Dec.
I 23.

87. Effective March 29, 2000, the Office hired a new employee
as a full-time Community Liaison, Joe Edwards, for the purpose of
carrying out Plaintiff's duties as a Community Liaison during her
absence, at an annual salary of $30,000. A~Johnson Dec. l 24; Rep.
Meeks Dec. L 21.

88. When Plaintiff returned to work on July 10, 2000, Joe
Edwards was asked to find a new position, but was told that he
could continue to work at the Office of Rep.rMeeks until he did so.
Rep. Meeks Dec. I 22.

89. On or about September 18, 2000, Joe Edwards left his

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position as Community Liaison for the Office of Representative
Meeks for employment elsewhere. A-Johnson Dec. L 25; Rep. Meeks
Dec. I 23.

90. During his period. of employment from March 29 to
September 18, 2000, Joe Edwards was paid a total of approximately
$14,100, of which approximately $8,400 was paid during the time
that Plaintiff was on leave. A-Johnson Dec. l 25.

F. Denial of Plaintiff's Overtime Compensation Claim

91. Upon her return from medical leave, on July 11, 2000,
Plaintiff submitted a request to Josephine Johnson for overtime
compensation for the two and one half hours that she had attended
a meeting on February 3, 2000. Levy Dec., Ex. 3 (Pl. Dep. I), at
92 3-19; id;, Ex. l (Orig. Complt.), Ex. D thereto.

92. Ms. Johnson advised Plaintiff, among other things, that
the overtime compensation request could not be submitted.because it
was submitted late (i.e., after the 10th of the following month, or
March 10, 2000). Levy Dec., Ex. 2 (Am. Complt.), Ex. A to Am.

Complt. at 1-2; see also id., Ex. 3 (Pl. Dep. I), at 93:18-97:18.

 

93. Plaintiff then appealed to Rep. Meeks Ms. Johnson’s
decision not to submit Plaintiff's overtime compensation request.
;d;, at 97:24-99:15.

94. At a meeting on July 17, 2000 among Rep. Meeks,
Josephine Johnson, and Plaintiff, Rep. Meeks denied Plaintiff’s

request for overtime compensation, Id., at 98:18~99:23; idy, Ex.

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2 (Am. Complt.) TL 20-21, and Ex. A to Am. Complt. at 2.

95. After the meeting in which Rep. Meeks denied Plaintiff’s
request for overtime compensation, Rep. Meeks did not have a
conversation with anyone in the Office about Plaintiff's overtime
request. Levy Dec., Ex. 4 (Rep. Meeks Dep.), at 100112#101:10.

G. Staff Members' Comnlaints about Plaintiff's Behavior

96. Before Plaintiff returned to work, two members of Rep.
Meeks’ District Office management staff, Executive Assistant
Patrick Jenkins and Office Manager Kim Fuller, reported to Rep.
Meeks that Plaintiff was working elsewhere while she was absent
from his Office on medical leave. Levy Dec., Ex. 4 (Rep. Meeks
Dep.), at 118:11-22, 168:23-170:22.

97. At that time, it was Rep. Meeks' impression. that
Plaintiff was out on medical leave because she was physically
unable to return to work, ;dg (Rep. Meeks Dep.), at 170:12-15.

98. Rep. Meeks also heard reports that Plaintiff was in the
office alone at night, on the computer, while she was out on
medical leave. _dg (Rep. Meeks Dep.), at 118:15-22, 169:15-25; see
alsg idg, Ex. 5 (Deposition of Patrick Jenkins, taken on December
5, 2002 (“Jenkins Dep.”)), at 43:22-45:2.

99. Upon Plaintiff's return to work, Rep. Meeks heard reports
from staff members, including his District Office Chief of Staff

Josephine Johnson, Patrick Jenkins, Kim Fuller and others, that

Plaintiff’s behavior had changed and that they felt uneasy or

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uncomfortable working with Plaintiff and did not trust her any
more. Levy Dec., Ex. 4 (Rep. Meeks Dep.), at 101:12-19, 102:13-23,
104:11-13, 116:10-13, 117:21-24, 118:8-10, 118:23-119:18, 170:23~
176:18, 180:4-16; see alsg_id*, Ex. 5 (Jenkins Dep.), at 36:9-46:8;
idy, Ex. 7 (Deposition of Kim Fuller, taken on December 18, 2004
(“Fuller Dep.”)), at 17:9~21:7, 25:13-26:15.

100. For example, staff members reported to Rep. Meeks that
they thought that Plaintiff was eavesdropping on telephone
conversations, looking in their desks, entering their offices when
she was not supposed to, taking documents from them, photocopying
documents, and spending time in the office alone late at night.
Levy Dec., Ex. 4 (Rep. Meeks Dep.), at 102:17-21, 103:5-6, 117:20~
24, 118:15-119:18; see alsg idy, Ex. 5 (Jenkins Dep.), at 39:7_
42:7, 43:22-45:2; id;, Ex. 7 (Fuller Dep.)), at 19:21~20 7.

101. In fact, Patrick Jenkins, reported to Rep. Meeks that he
planned to put a lock on his office door because of Plaintiff’s
“snooping around.” Levy Dec., Ex. 4 (Rep. Meeks Dep.), at 119:11-
13, 171:5-19,- s@_e §§ i_d_.“, Ex. 5 walking Dep.), at 45=6_¢)¢6:3.4

102. Staff members also reported to Rep. Meeks that Plaintiff
“did not have his back,” (i;e¢, that she was being disloyal). Levy
Dec., Ex. 4 (Rep. Meeks Dep.), at 102:17-23, 180:4-16.

103. As a result of Plaintiff's behavior, District Office
Chief of Staff Josephine Johnson, then-Executive Assistant Patrick

Jenkins, and then-District Office Manager Kim.Fuller recommended to

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Rep. Meeks that Plaintiff be terminated. ld; (Rep. Meeks Dep.), at
101:16-17, 102:13-16, 117:20-21, 175:3-176:18; ass QL§Q l§i, Ex. 7
(Fuller Dep.), at 26:24-33:5.

104. Despite the complaints and recommendations _that he
received from his staff, Rep. Meeks refused to fire Plaintiff at
that time because Plaintiff continued to perform her work well.
ldy, Ex. 4 (Rep. Meeks Dep.), at 101:16-19, 102:22-103:3, 117:20~
113:3.

H. Change in Office Overtime Policy

105. In early 2000, Rep. Meeks requested that his Chief of
Staff, Jameel Aalim-Johnson, investigate which positions in the
Office, including Community Liaisons, were entitled to overtime

compensation. Levy Dec., Ex. 4 (Rep. Meeks Dep.), at 18:2-19:11;

Levy Dec., Ex. 6 (Deposition of Jameel Aalim-Johnson, taken on
December 11, 2002 (“A~Johnson Dep.”), at 12:7-13;11; A»Johnson Dec.
L 20.

106. Mr. Aalim-Johnson determined that staff performing the
duties that Plaintiff performed in, her position as Community
Liaison were exempt from the overtime requirements of the Fair
Labor Standards Act. ldé, Ex. 4 (Rep. Meeks Dep.), at 18:25-20:21;
ldy, Ex. 6 (A-Johnson Dep.), at 12:14-13:11; A-Johnson Dec. L 20,
and Ex. J thereto.

107. Starting in about September 2000, Community Liaisons

employed by the Office were no longer paid overtime compensation

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for outside meetings that they attended at which they represented
Rep. Meeks outside of office hours. Levy Dec., Ex. 4 (Rep. Meeks
Dep.), at 17:8~18:5, 19:13-20:9; idy, Ex. 6 (A~Johnson Dep.), at
10:9-13:11; A-Johnson Dec. I 21, and Ex. K thereto.

I. Plaintiff's Overtime Complaint to the Office of Comnliance

108. On or about September 8, 2000, Plaintiff filed_ a
complaint under the Congressional Accountability Act with the
Office of Compliance, claiming that she had been improperly denied
overtime compensation. Levy Dec., Ex. 3 (Pl. Dep. I), at 106:3~
107:10; 116:12-119:10 (describing OOC complaint forms attached to
Original Complaint); ld&, Ex. 1 (Orig. Complt), Ex. G and J'
thereto; ldy, Ex. 9 (P10031-32 and P100047) (signed. copy of
complaint produced by Plaintiff in discovery)); ldi, Ex. 12 (D171-
172).

109. Pursuant to the OOC rules, a confidential 30-day period
of “counseling” follows the filing of a complaint, during which
time the employer is not notified of the complaint unless the
complainant signs a confidentiality waiver. Levy Dec., Ex. 14 (OOC
Rules of Procedure) §§ 1.06, 1.07(a), 2.03(c), 2.03(j).

110. There is no evidence that Plaintiff signed a
confidentiality waiver for her overtime complaint to the OOC. Levy
Dec., Ex. 12 (D171_l72)(declaration by OOC custodian of records

describing the OOC record does not include any reference to a

confidentiality waiver in this case); id., Ex. 3 (Pl. Dep. I), at

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107:11~108:6 (Plaintiff testified about her understanding of a
“waiting period” and “cooling off period”), 108:25~109:2 (Plaintiff
described her understanding that the process was confidential);
120:18-121:9 (Plaintiff testified that on or about October 10,
2000, she “didn't feel that anything was happening . . . with the
Office of Compliance because [she] was still engaged in this
waiting process” and thus wrote a letter to the House Ethics
Committee at that time).

111. According to Plaintiff, before her termination,
Plaintiff did not talk with. anyone in the Office about her
complaint with the OOC concerning overtime compensation. Levy
Dec., Ex. 3 (Pl. Dep. I), at 108:21-24; 112:1-6.

112. Before Plaintiff's termination, the Office was not aware
of Plaintiff's complaint with the OOC concerning overtime
compensation. Levy Dec., Ex. 4 (Rep. Meeks Dep.), at 96:19-98:17;
idg, Ex. 6 (A-Johnson Dep.), at 19:22-20:17, 44:7#45:8.

J. Plaintiff's Letter to the Committee on Standards
of Official Conduct of the House of Representatives

113. By letter dated October 10, 2000, Plaintiff wrote to
the Committee on Standards of Official Conduct of the House of
Representatives. Levy Dec., Ex. 2 (Am. Complt.) T 24; idy, Ex. 3
(Pl. Dep. I), at 119:23~120:9 (describing Exhibit I to Orig.

up id., Ex.

Complt.); id., Ex. 1 (Orig. Complt.), Ex. I; repeated
2 (Am. Complt.), Attachment A thereto.

ll4. In her letter, Plaintiff claimed, inter alia, that the

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Office had wrongfully denied her overtime compensation. Levy Dec.,
Ex. 2 (Am. Complt.) L 24; idy, Ex. 3 (Pl. Dep. I), at 119:23-120:9
(describing Exhibit I to Orig. Complt.); idé, Ex. l (Orig.
Complt.), Ex. l; repeated ap id;, Ex. 2 (Am. Complt.), Attachment
A thereto.

115. Plaintiff never heard from the House Ethics Committee in
response to her October 10, 2000 letter. ldy, Ex. 3 (Pl. Dep. I),
at 124:2~6.

116. Plaintiff is not aware of any action being taken by the
House Ethics Committee in response to her letter. ld;, at 123:16-
124:1.

117. The Office did not receive any notification of, and was
not made otherwise aware of, Plaintiff’s letter to the House Ethics
Committee before Plaintiff's termination. ;d;, Ex. 6 (AaJohnson
Dep.), at 22:7-22, 24:5-25:6; idg, Ex. 4 (Rep. Meeks Dep.), at
89:11-92:13; see id; (Rep. Meeks Dep.), at 91216 (“from. my

recollection, it was after” Plaintiff was no longer employed).

K. Plaintiff's Termination - October 23l 2000

118. Rep. Meeks terminated Plaintiff's employment on October
23, 2000. A-Johnson Dec. T 8, and Ex. D thereto; see else Levy
Dec., Ex. 3 (Pl. Dep. I), at 165:14-168:23; idg, Ex. 4 (Rep. Meeks
Dep.), at 101:11»119:23].

119. Plaintiff was terminated based cni a combination of

factors, including the complaints that Rep. Meeks had received from

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trusted members of his District Office management staff, and his
receipt of a draft letter that Plaintiff had written that
questioned the integrity of his Office on grounds unrelated to
Plaintiff’s claim for overtime compensation. ldg (Rep. Meeks
Dep.), at 101:11-119:23, 168:23-180:19.

120. Whereas Rep. Meeks had heard complaints previously and
had received recommendations from his staff that he terminate
Plaintiff's employment, he had refused to do so because she was
performing good.work. d. (Rep. Meeks Dep.), at 101:12-19, 102:10-

103:10, 117:20-118:3; see also id., Ex. 7 (Fuller Dep.), at 26:24-

 

33:5.

121. However, the draft letter that questioned Rep. Meeks'
Office's integrity corroborated the complaints he had received,
including the complaints that Plaintiff “did not have [his] back.”
§ee idg, Ex. 4 (Rep. Meeks Dep.), at 102:17~23, 180:4-16.

122. As Rep. Meeks testified, “[W]hen l read that letter,
that letter was confirmation to me, . . . of what people had said,
that she was snooping around . . . people’s desks and questioning
the integrity of my office, and 1 can't have an employee in the
office questioning the integrity of the office and I felt because
of that letter and what other people told me, she had to go.” ;dg
(Rep. Meeks Dep.), at 103:3-10; see alsg idé, at 101:ll-104:21,
116:10-118:10.

123. Neither Rep. Meeks nor the Office retained a copy of the

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draft letter. id4 (Rep. Meeks Dep.), at 104:22-105:9.

124. Rep. Meeks did not consult with anyone before deciding
to terminate Plaintiff, ld4 (Rep. Meeks Dep.), at 112 15-113:21.

125. Rather, with Patrick Jenkins and Josephine Johnson
present, he called Plaintiff into his office and asked her to “pack
up Iher] stuff,” because “people were uneasy, it was not lending to
an atmosphere that I wanted to have in the office.” _l__d4 (Rep.
Meeks Dep.), at 114:3-115:6; id;, Ex. 5 (Jenkins Dep.), at 33:23-
36:4; id;, Ex. 3 (Pl. Dep. l), at 165:14-168:23.

126. In response to Plaintiff’s question, Rep. Meeks told
Plaintiff that there were no complaints about her work. ;dg, Ex.
4 (Rep. Meeks Dep.), at 115:7~116:13.

127. In addition to her regular salary through October 23,
2000, on November 1, 2000, the Office paid Plaintiff a lump sum in
the amount of $1,816, representing three days of accrued leave time
and two weeks of additional salary. ;d;, Ex. 6 (A-Johnson Dep.),
at 39:23~41:22; A-Johnson Dec. I 9, and Ex. E thereto.

II. Plaintiff’s OOC Complaints

A. Plaintiff’s Termination Complaint to the OOC

128. On October 23, 2000, Plaintiff filed a complaint with
the OOC claiming that her termination was improper. Levy Dec., Ex.

3 (Pl. Dep. I), at 106:9»11, llO:23-lll:12, 124:7-125:5; id., Ex.

 

13 (D169-170); id., Ex. 1 (Orig. Complt.), Ex. J thereto; pepea;ed

 

at Levy Dec., EX. 9 (PlOOO46 and P100048).

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129. On October 26, 2000, Plaintiff agreed to reduce the

period for counseling on her termination complaint. Levy Dec., Ex.

 

3 (Pl. Dep. I), at 125:6-126:7; id., Ex. 13 (D169~l70); id., Ex. 1
(Orig. Complt.), Ex. J thereto; repeated at id., Ex. 9 (P100049);
see also id., Ex. 14 (OOC Rule of Procedure) § 2.03(j)(p@riOd fOr

counseling is 30 days, unless employee and Office agree to reduce
period).

130. Plaintiff received a Notification of End of Counseling
on the termination complaint on November 6, 2000. Levy Dec., Ex.
3 (Pl. Dep. I), at 131:4~12 (referencing P100051~52); idg, Ex. 9
(P100051-52); idé, Ex. 13 (Dl69-170);'se§ OOC Rule of Procedure §
2.03(1)(rule governing notification of end of counseling).

131. In the letter, OOC advised Plaintiff that if she wished
to ‘pursue her claim, she was required_ to file a request for
mediation with the OOC. Levy Dec., Ex. 9 (P100051~52); l§i, Ex. 3
(Pl. Dep. l), at 131:13-132:11.

132. Plaintiff requested mediation of the termination
complaint on November 14, 2000. Levy Dec., Ex. 3 (Pl. Dep. I), at
131:22-132:11 (referencing P100053); idea Ex. 9 (P100053); idi, Ex.
13 (D169~170).

B. Reguest for Mediation of OOC Overtime Complaint

133. On or about October 24, 2000, Plaintiff received a

Notification of End of Counseling on the overtime complaint from

the OOC. Levy Dec., EX. 9 (P100042-44); id., Ex. 12 (D17l-l72).

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134. On November 1, 2000, Plaintiff requested mediation of
the overtime complaint. ;d;, Ex. 12; idy, Ex. 3 (Pl. Dep. l), at
111:17-20 (Plaintiff testified that mediation on overtime complaint
did not begin before termination).

C. OOC's First Notification to
Office of Plaintiff’s Complaints

135. Under the OOC's rules of procedure, in the absence of a
confidentiality waiver, the request for mediation is the very first
trigger for the OOC to notify' an_ Employing Office of an OOC
complaint. Levy Dec., Ex. 14 (OOC Rule of Procedure § 2.04(c).

136. After the termination of Plaintiff's employment, in or
about late October to early November 2000, the OOC advised Jameel
Aalim-Johnson. of Plaintiff's complaints against the Office of
Representative Meeks. Levy Dec., Ex. 6 (A~Johnson.Dep.), at 19:22-
20:17, 44:7-12. Mr. Aalim~Johnson was the appropriate point of
contact in the Office for the OOC and this was the first time that
Mr. Aalim~Johnson heard about Plaintiff’s OOC complaints. ld; (A-
Johnson Dep.), at 44:7-45:8; see idé, Ex. 4 (Rep. Meeks Dep.), at
98:7-17(Rep. Meeks vested responsibility in Mr. Aalim-Johnson for
handling complaints such as OOC complaint); gfg id; (Rep. Meeks
Dep.), at 91 21-92:11 (Rep. Meeks vested responsibility in Mr.
Aalim-Johnson for handling complaints such as House Ethics
Committee complaint).

137. Mr. Aalim-Johnson subsequently advised Rep. Meeks of

Plaintiff's complaints to the OOC. Id. (A-Johnson Dep.), at 45:18-

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46:25; idp, Ex. 4 (Rep. Meeks Dep.), at 96219-98:17].

138. This was the first time that Rep. Meeks heard about
Plaintiff’s OOC complaints. ldp (Rep. Meeks Dep.), at 96:19-98:17.

D. Mediation of Plaintiff's OOC Complaints

139. Between November 2000 and January 2001, mediation of
Plaintiff’s OOC complaints ensued between the parties, but did not
result in a settlement of the case. Levy Dec., Ex. 3 (Pl. Dep. I),
at 113:9~114:7; ppg idp, Ex. 14 (OOC Rule of Procedure) § 2.04
(section concerning mediation).

140. By letter dated. January 8, 2001, which Plaintiff
received on January 27, 2001, the OOC notified Plaintiff of the end
of the mediation period and advised Plaintiff of her right to file
a judicial action. Levy Dec., Ex. 1 (Orig. Complt.), first

exhibit; repeated ap id., Ex. 9 (P100064-66); id., Ex. 12 (Dl7l-

 

172); id., Ex. 13 (Dl69~l70).

III. District Court Comnlaint

141. On or about March 8, 2001, Plaintiff commenced this
action, ppg se, and on or about June 15, 2001, Plaintiff,
represented by counsel, filed an Amended Complaint. Levy Dec.,
Exs. l and 2 (Orig. and Am. Complts.).

142. In her Amended Complaint, Plaintiff's primary claims are
that: (1) she was improperly denied overtime compensation, Levy
Dec., Ex. 2 (Am. Complt.) LI 22-24; (2) that she was terminated “in

retaliation for her filing of the lawsuit against Flowers and/or in

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retaliation for her complaint filed with the Office of Compliance
and/or in retaliation for her complaint filed with the {House
Ethics Committee],” id; L 27; and (3) she was improperly denied
travel expense reimbursement, id. LI 22*24.

143. In or about May 2000, Plaintiff commenced a legal action

against, inter alia, a physical therapy facility owned by Neville

 

Flowers, and Neville Flowers, individually. gee Levy Dec., Ex. 2
(Am. Complt.) I 15.

144. Plaintiff asserted separate claims against the Office
and Rep. Meeks individually. ;dp (Am. Complt.) IL 29-32; see
Stipulation and Partial Order of Dismissal, entered November l9,
2001 (dismissing first claim against Meeks and second claim.against
Office).

145. Rep. Meeks moved to dismiss the claim against him
individually on the grounds that it was precluded by the
Congressional Accountability Act. See Pavne v. Meeks, 200 F. Supp.
2d 200 (E.D.N.Y. 2002).

146. By Memorandum and Order dated May 1, 2002, the Court
granted Representative Meeks' motion, holding that Plaintiff's
claim of unconstitutional discharge was precluded by the CAA. ;dp

147. Plaintiff has taken extensive discovery in this action.
Levy Dec. § 2.

148. In response to Plaintiff’s discovery' requests, the

Office responded to two sets of interrogatories and three sets of

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document requests, producing at least 1,800 pages of documents
(including documents in the possession, custody or control of the
Office, documents subpoenaed from third parties, and documents
produced in expert discovery). lgp

149. The Office produced seven witnesses for deposition,
including Representative Meeks, his Chief of Staff Jameel Aalim-
Johnson, his District Director Patrick Jenkins, and four other
current or former employees. ldp

150. Plaintiff also took the deposition of two non-party
witnesses. ldp

151. In addition, Plaintiff testified. at deposition for
almost two days, ld_4

Dated: Brooklyn, New York
December 2, 2004

ROSLYNN R . MAUSKOPF

United States Attorney

Eastern District of New York

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By: i‘ éz/M[%A€\ (/‘/l

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